                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION

                                     NO. 5:18-CR-00452-FL-1


 UNITED STATES OF AMERICA                     )
                                              )
           v.                                 )                MOTION TO SEAL
                                              )
 LEONID ISAAKOVICH TEYF                       )


       Defendant Leonid Isaakovich Teyf, through undersigned counsel, respectfully moves to

seal the Proposed Sealed Document at D.E. 436, filed by him on this date, on the grounds that

the Motion contains material relating to a motion submitted under seal by the government.

       WHEREFORE, Defendant respectfully requests that this Motion be granted, and that the

Proposed Sealed Document filed by Defendant on this date be kept under seal by the Clerk of

Court until further order of this Court.

       This the 4th day of February, 2020.

                                             /s/ F. Hill Allen
                                             F. Hill Allen
                                             THARRINGTON SMITH, L.L.P.
                                             P.O. Box 1151
                                             Raleigh, NC 27602
                                             Phone: 919) 821-4711
                                             Fax: 919) 829-1583
                                             hallen@tharringtonsmith.com
                                             N.C. State Bar No. 18884
                                             Counsel for Defendant

                                             Robert S. Wolf
                                             MOSES & SINGER LLP
                                             The Chrysler Building
                                             405 Lexington Ave., 12th Floor
                                             New York, NY 10174-1299
                                             Phone: (212) 554-7825
                                             Fax: (212) 554-7700




          Case 5:18-cr-00452-FL Document 437 Filed 02/04/20 Page 1 of 3
                           rwolf@mosessinger.com
                           Counsel for Defendant




                              2

Case 5:18-cr-00452-FL Document 437 Filed 02/04/20 Page 2 of 3
                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 4th day of February, 2020, I electronically filed the foregoing
MOTION TO SEAL and proposed ORDER with the Clerk of the Court using the CM/ECF
system which will send notification of such filing to all counsel of record.

       Barbara D. Kocher                              Jason M. Kellhofer
       U.S. Attorney’s Office                         U.S. Attorney’s Office
       150 Fayetteville Street, Suite 2100            150 Fayetteville Street, Suite 2100
       Raleigh, NC 27601                              Raleigh, NC 27601
       barb.kocher@usdoj.gov                          jason.kellhofer@usdoj.gov



                                              /s/ F. Hill Allen
                                              F. Hill Allen
                                              THARRINGTON SMITH, L.L.P.
                                              P.O. Box 1151
                                              Raleigh, NC 27602
                                              Phone: (919) 821-4711
                                              Fax: (919) 829-1583
                                              hallen@tharringtonsmith.com
                                              N.C. State Bar No. 18884
                                              Counsel for Defendant




                                                  3

          Case 5:18-cr-00452-FL Document 437 Filed 02/04/20 Page 3 of 3
